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      Attorneys for Defendants and
 11   Counterclaimants Backgrid USA, Inc.,
      Splash News and Picture Agency, LLC, and
 12   Xposure Photo Agency, Inc.
 13                        UNITED STATES DISTRICT COURT
 14                      CENTRAL DISTRICT OF CALIFORNIA
 15
      ENTTECH MEDIA GROUP LLC,               Case No.: 2:20-cv-06298 JWH (Ex)
 16                                          Hon. John W. Holcomb
                    Plaintiffs,
 17                                          NOTICE TO THE COURT RE:
            v.
                                             ASSIGNMENT OF SPLASH NEWS
 18   OKULARITY, INC.; JON NICOLINI;         AND PICTURE AGENCY LLC’s
 19   BACKGRID USA, INC.; SPLASH             COPYRIGHTS
      NEWS AND PICTURE AGENCY,
 20   LLC; AND XPOSURE PHOTO
 21   AGENCY, INC.
 22                 Defendants.
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                         NOTICE TO THE COURT RE: ASSIGNMENT OF
                    SPLASH NEWS AND PICTURE AGENCY LLC’s COPYRIGHTS
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  1         TO THE COURT:
  2         Please take notice that on or around January 19, 2021 Splash News and
  3   Picture Agency LLC (“Splash”) inadvertently assigned the copyrights to its
  4   photographs at issue in this litigation to its parent company.
  5         Splash first informed its litigation counsel in the above captioned action about
  6   the January 19, 2021 Assignment on February 3, 2021.
  7         On February 9, 2021, the parent company assigned back to Splash all rights,
  8   title, and interest to the copyrights, including the right to sue for past and future
  9   infringements of the copyrights that are at issue in this litigation.
 10
 11   Dated: February 9, 2021                  ONE LLP
 12
                                               By: /s/ Joanna Ardalan
 13                                                Joanna Ardalan
 14                                                Peter R. Afrasiabi
 15                                                 Attorneys for Defendants and
 16                                                 Counterclaimants
 17                                                 Backgrid USA, Inc.; Splash News and
 18                                                 Picture Agency, LLC, Xposure Photo
                                                    Agency, Inc.
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                           NOTICE TO THE COURT RE: ASSIGNMENT OF
                      SPLASH NEWS AND PICTURE AGENCY LLC’s COPYRIGHTS
